     Case 1:21-cv-00445-CJN-MAU Document 213 Filed 04/03/24 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                             )
US DOMINION, INC. et al.,                    )
                                             )
              Plaintiffs,                    )            Case No. 1:21-cv-00445-CJN
                                             )                Judge Carl J. Nichols
      v.                                     )
                                             )
MY PILLOW, INC. et al.,                      )
                                             )
              Defendants.                    )
                                             )


                        NOTICE OF WITHDRAWAL OF COUNSEL

      Pursuant to Local Civil Rule 83.6(b), the law firm of Parker Daniels Kibort LLC and

attorneys Andrew D. Parker, Joseph J. Pull, Elizabeth S. Wright, Ryan Malone, and Abraham S.

Kaplan respectfully withdraw their appearance as legal counsel for Defendant My Pillow, Inc.

In addition, the law firm of Parker Daniels Kibort LLC and attorneys Andrew D. Parker and

Joseph J. Pull respectfully withdraw their appearance as legal counsel for Defendant Michael J.

Lindell. Additionally, the law firm of Lewin & Lewin, LLP and attorney Nathan Lewin

respectfully withdraw their appearance as legal counsel for Defendant My Pillow, Inc. No trial

date has been set in this matter. Robert J. Cynkar, Esq. of the law firm of McSweeney, Cynkar

& Kachouroff, PLLC will continue to represent Defendant Michael J. Lindell in this matter.

Christopher I. Kachouroff of the law firm of McSweeney, Cynkar & Kachouroff, PLLC will

continue to represent Defendant My Pillow, Inc. in this matter. Defendants My Pillow, Inc. and

Michel J. Lindell consent to the referenced withdrawal of counsel. This withdrawal is effective

immediately. See Local Civil Rule 83.6(b).
Case 1:21-cv-00445-CJN-MAU Document 213 Filed 04/03/24 Page 2 of 3
     Case 1:21-cv-00445-CJN-MAU Document 213 Filed 04/03/24 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served

upon all parties of record through the Court's CM/ECF system on __April 3_, 2024.


                                                   /s/ Andrew D. Parker
                                                   Andrew D. Parker




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